  Case 22-10773-amc      Doc 9      Filed 04/18/22 Entered 04/18/22 08:17:47    Desc Main
                                    Document      Page 1 of 1



                        UNITED STATES BANKRUPTCY COURT
                        EASTERN DISTRICT OF PENNSYLVANIA


  In re                                         :   Chapter   13

                                                :
  Cristiano Zuin
                                                :

                       Debtor                   :   Bankruptcy No. 22-10773AMC


                                            ORDER


                AND NOW, it is ORDERED that since the debtor(s) have failed to

  timely file the documents required by the order dated March 29, 2022, this case

  is hereby DISMISSED.




Date: April 18, 2022


                                                    Ashely M Chan
                                                    United States Bankruptcy Judge



  Missing Documents:
                                SSN-Form B21 (Corrected)
                                Disclosure of Attorney Compensation
                                Chapter 13 Plan
                                Ch 13 Income 122C-1
                                Means Test Calculation Form 122C-2, if applicable
                                Schedules A/B-J
                                Statement of Financial Affairs
                                Summary Assets & Liabilities B106
  bfmisdoc
